Case 1:22-cv-00893-LDH-TAM Document 86 Filed 06/30/23 Page 1 of 2 PageID #: 1998




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 TROOPER 1,

                     Plaintiff,                           22-cv-00893 (LDH)(TAM)

                      v.                                  Oral Argument Requested

 NEW YORK STATE POLICE, ANDREW CUOMO,
 MELISSA DEROSA and RICHARD AZZOPARDI,

                       Defendants.


  NOTICE OF MOTION BY NONPARTY LINDSEY BOYLAN TO QUASH DEFENDANT
               ANDREW CUOMO’S DOCUMENT SUBPOEANAS

           PLEASE TAKE NOTICE, that upon Nonparty Lindsey Boylan’s accompanying

 Memorandum of Law, the Declaration of Julie R. F. Gerchik and the exhibits attached thereto, and

 all prior pleadings and papers on file in the above-captioned action and in Andrew M. Cuomo v.

 Lindsey Boylan, No. 23-mc-01587 (LDH) (E.D.N.Y.), Ms. Boylan hereby moves this Court

 pursuant to Rules 26 and 45 of the Federal Rules of Civil Procedure for an order quashing the

 Additional Nonparty Subpoenas, and granting such further relief as the Court deems just and

 proper.
Case 1:22-cv-00893-LDH-TAM Document 86 Filed 06/30/23 Page 2 of 2 PageID #: 1999




 Dated: June 30, 2023                  Respectfully submitted,
        New York, New York
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